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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                 :
UNITED STATES OF AMERICA         :
                                 :                           ORDER
        -v.-                     :
                                 :                           S2 18 Cr. 303 (JMF)
GERMAN MARMOLEJOS,               :
                                 :
                      Defendant. :
                                 :
-------------------------------x

                 Upon the application of AUDREY STRAUSS, Acting United States Attorney for

the Southern District of New York, by Assistant United States Attorneys Peter J. Davis and

Daniel G. Nessim, and with the consent of the defendant GERMAN MARMOLEJOS, through

his counsel, and upon the record of proceedings in this matter to date, it is hereby

                 ORDERED, pursuant to Title 18, United States Code, Section 4241 et seq., that

the defendant GERMAN MARMOLEJOS be designated to a suitable Bureau of Prisons (“BOP”)

facility so that a psychological evaluation of the defendant can be performed and a report can be

issued to assist the Court in determining whether the defendant is competent to stand trial; and it

is further

                 ORDERED that the defendant GERMAN MARMOLEJOS surrender to the

designated facility on January 4, 2021; and it is further

                 ORDERED that the BOP complete the evaluation of the defendant GERMAN

MARMOLEJOS as soon as possible and within 30 days of the defendant’s arrival at the

designated BOP facility; and it is further




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               ORDERED that, in connection with its evaluation, the BOP shall be provided

with copies of any psychological reports regarding the defendant prepared by any psychologist

or psychiatrist who has evaluated the defendant in connection with this case; and it is further

               ORDERED that, as soon as possible following the conclusion of its psychological

evaluation, the BOP submit to the Court and the parties a report regarding the results of its

evaluation of the defendant, addressing whether the defendant is competent to stand trial.

               The Court hereby recommends that the defendant GERMAN MARMOLEJOS be

designated to a suitable BOP medical facility that is nearest to the New York City area, has

Spanish-speaking mental-health staff, and that is capable of either providing or facilitating

neurological testing for GERMAN MARMOLEJOS, including MRI and fMRI scans, while he is

housed at the BOP medical facility

Dated:         New York, New York
               November __,
                        9 2020

                                              __________________________________
                                              THE HONORABLE JESSE M. FURMAN
                                              UNITED STATES DISTRICT JUDGE
                                              SOUTHERN DISTRICT OF NEW YORK




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